      Case 4:18-cr-06054-EFS     ECF No. 294   filed 05/05/22   PageID.7610 Page 1 of 3




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10                         UNITED STATES DISTRICT
11                FOR THE EASTERN DISTRICT OF WASHINGTON
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13
     UNITED STATES OF AMERICA,
14                                                 Case No.: 4:18-CR-6054-EFS
15                             Plaintiff,
                                                   United States’ Motion to Expedite
16                v.                               Hearing for Leave to File Document
17                                                 Under Seal
     SAMI ANWAR,
18                                                 Without Oral Argument
19                           Defendant.            Date: May 12, 2022
                                                   Time: 6:30 p.m.
20
21         Plaintiff, United States of America, by and through Vanessa R. Waldref,
22   United States Attorney for the Eastern District of Washington, and Tyler H.L.
23   Tornabene, Assistant United States Attorney for the Eastern District of Washington,
24   moves the Court to expedite the hearing on the United States’ Motion for leave to
25   file under seal Exhibit A to the United States’ Response to Defendant’s Emergency
26   Motion for Compassionate Release (ECF 292) in the above-entitled matter.
27         The Motion to Expedite is necessary because the United States’ Response to
28   Defendant’s Emergency motion was filed on May 4, 2022 and the document the
     Motion to Expedite Hearing on Motion for Leave to File Document Under Seal – 1
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1    United States is requesting to be filed under seal (Exhibit A) contains medical
2    records of the Defendant.
3
4          Dated: May 5, 2022.
5
                                                  Vanessa R. Waldref
6                                                 United States Attorney
7
                                                  s/ Tyler H.L. Tornabene
8                                                 Tyler H.L. Tornabene
                                                  Assistant United States Attorney
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     Motion to Expedite Hearing on Motion for Leave to File Document Under Seal – 2
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1                              CERTIFICATE OF SERVICE
2
           I hereby certify that on May 5, 2022, I electronically filed the foregoing with
3
     the Clerk of the Court using the CM/ECF system which will send notification of
4
5    such filing to the following:
6
           Alan Ellis          Email: AELaw1@AlanEllis.com
7          Jeffry K. Finer     Email: jfiner@ksblit.legal
8
9
                                                  s/ Tyler H.L. Tornabene
10                                                Tyler H.L. Tornabene
                                                  Assistant United States Attorney
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     Motion to Expedite Hearing on Motion for Leave to File Document Under Seal – 3
